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                               UNITED STATES
                               UNITED        DISTRICT COURT
                                      STATES DISTRICT COURT
                                 DISTRICT OF
                                 DISTRICT OF CONNECTICUT
                                             CONNECTICUT


EVEGENIY
EVEGENIY ARDEMASOV,
         ARDEMASOV,                                   :: CIVIL
                                                         CIVIL ACTION
                                                               ACTION NO.
                                                                       NO. 12-01570
                                                                           12-01570
                                                       :
                             Plaintiff
                             Plaintiff                 :
                                                       :
                    -- against
                       against --                      :
                                                       :
CITIBANK, N.A.
CITIBANK, N.A.                                        :: OCTOBER
                                                         OCTOBER 24,
                                                                  24, 2014
                                                                      2014
                                                       :
                             Defendant.
                             Defendant.                :


                  DEFENDANT CITIBANK, N.A.’S
                                       N.A.'S
    MOTION TO
    MOTION     COMPEL PLAINTIFF
            TO COMPEL  PLAINTIFF TO
                                 TO RESPOND
                                    RESPOND TOTO DOCUMENT
                                                 DOCUMENT
 REQUESTS AND
 REQUESTS AND INTERROGATORIES
              INTERROGATORIES AND
                                AND TO
                                    TO APPEAR
                                       APPEAR FOR
                                                FOR DEPOSITION
                                                    DEPOSITION
   AND OPPOSITION
   AND OPPOSITION TO
                  TO PLAINTIFF’S MOTION TO
                     PLAINTIFF'S MOTION  TO STAY
                                             STAY DISCOVERY
                                                  DISCOVERY


         Pursuant to
         Pursuant  to Fed.
                      Fed. R. Civ. P.
                           R. Civ. P. 37
                                       37 and
                                           andLocal
                                               Local Civil
                                                      Civil Rule
                                                             Rule 37,
                                                                   37,Citibank,
                                                                       Citibank, N.A.
                                                                                 N.A.

(“Citibank”) moves
("Citibank") moves to compel Plaintiff
                   to compel Plaintiff Evgeniy
                                       Evgeniy Ardemasov
                                               Ardemasov to
                                                          to respond
                                                             respond to Citibank’s
                                                                     to Citibank's

interrogatories and
interrogatories and document
                    document requests
                              requestsand
                                       andto
                                           to appear
                                              appear for
                                                      for aa noticed
                                                             noticed deposition. Citibank
                                                                     deposition. Citibank

also opposes
also opposes Plaintiff’s letter application
             Plaintiff's letter application seeking
                                            seeking to
                                                    to stay
                                                       stay discovery.
                                                            discovery.

         Plaintiff’s baseless
         Plaintiff's baseless refusal
                              refusal to
                                      to provide
                                         provide discovery
                                                 discovery and request for
                                                           and request for aa stay
                                                                              stay should
                                                                                   should not
                                                                                          not

be countenanced.
be countenanced. Plaintiff
                 Plaintiff accordingly
                           accordingly should
                                       should be
                                              be responsible
                                                 responsible for
                                                             for the
                                                                 the costs
                                                                     costs Citibank
                                                                           Citibank has
                                                                                    has

incurred bringing
incurred bringing this
                  this motion
                       motion and opposing Plaintiff’s
                              and opposing             baseless request
                                           Plaintiff's baseless request for
                                                                        for aa discovery
                                                                               discovery

stay.
stay.

                                           FACTS
                                           FACTS

         Almost two
         Almost two years
                    years ago, on January
                          ago, on January 29,
                                          29, 2013,
                                              2013, the
                                                    the parties
                                                        parties met
                                                                met and
                                                                    and conferred
                                                                        conferred as
                                                                                  as

required by
required by Fed.
            Fed. R. Civ. P. 26(f).
                            26(f). (See
                                   (See Rule
                                        Rule 26(f)
                                             26(f) Report
                                                   Report [D.E.
                                                           [D.E. 17]
                                                                 17] atat 1). Citibank
                                                                          1). Citibank

prepared aa draft
prepared    draft Rule
                  Rule 26(f)
                       26(f) report
                              report and
                                      and submitted
                                           submitted itit totoPlaintiff
                                                               Plaintifffor
                                                                         forconsideration.
                                                                             consideration.

Plaintiff’s counsel,
Plaintiff's counsel, who
                     who had
                         had served
                             served as
                                    as Plaintiff's
                                       Plaintiff’s transactional
                                                    transactional counsel
                                                                  counsel in
                                                                          in connection
                                                                             connection with
                                                                                        with



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the events
the events leading
           leading to the dispute
                   to the dispute and
                                  and now
                                      now served
                                          served as
                                                 as litigation
                                                    litigation counsel,
                                                               counsel, refused
                                                                        refused to sign the
                                                                                to sign the

report since
report since it listed him
             it listed him as
                           as aa possible
                                 possible witness.
                                          witness. Plaintiff's
                                                    Plaintiff’srefusal
                                                                refusalprevented
                                                                        prevented Citibank
                                                                                  Citibank

from
from filing
     filing the Rule 26(f)
            the Rule 26(f) report
                           report and
                                  and led Plaintiff’s counsel
                                      led Plaintiff's counsel to
                                                              to raise
                                                                 raise the issue of
                                                                       the issue of his
                                                                                    his

possible testimony
possible testimony with the Court.
                   with the Court. (See,
                                   (See, e.g.,
                                         e.g., D.E.
                                               D.E. 13-2,
                                                    13-2, e-mail
                                                          e-mail from
                                                                 from Plaintiff's
                                                                      Plaintiff’s counsel
                                                                                  counsel

dated February
dated February 15,
               15, 2013)
                   2013) (“At this point,
                         ("At this point, II strongly
                                              strongly suggest
                                                       suggest that
                                                               that [Citibank]
                                                                     [Citibank] take
                                                                                take the
                                                                                     the

disqualification matter
disqualification matter up
                        up with
                           with the
                                the judge
                                    judge before
                                          before we
                                                 we proceed
                                                    proceed with
                                                            with Rule
                                                                 Rule 26(f)
                                                                      26(f) Report.”)
                                                                            Report.")

         After the
         After the Rule
                   Rule 26(f)
                        26(f) conference,
                              conference, Citibank
                                          Citibank sought
                                                   sought to
                                                          to move
                                                             move forward
                                                                  forward with
                                                                          with discovery.
                                                                               discovery.

On May
On May 3,
       3, 2013,
          2013, Citibank
                Citibank served
                          served document
                                 document requests,
                                           requests, interrogatories
                                                      interrogatories and
                                                                      and aa deposition
                                                                             deposition

notice upon
notice upon Plaintiff.  (Copies attached
            Plaintiff. (Copies  attached as
                                         as Exhibits
                                            Exhibits 11 through
                                                         through 3,
                                                                 3, respectively,
                                                                     respectively, to the
                                                                                   to the

Declaration of
Declaration of Noah
               Noah M.
                    M. Weissman
                       Weissman (“Weissman
                                ("Weissman Decl.”).) Plaintiff failed
                                           Decl.").) Plaintiff failed to
                                                                      to respond
                                                                         respond to
                                                                                 to

these discovery
these discovery requests.
                requests.

         Citibank also
         Citibank also commenced
                       commenced non-party
                                 non-partydiscovery.  On April
                                           discovery. On April 26,
                                                               26, 2013,
                                                                   2013, Citibank
                                                                         Citibank

served notice
served notice to Plaintiff of
              to Plaintiff of issuance
                              issuance of
                                       of aa subpoena
                                             subpoena to
                                                      to non-parties
                                                         non-parties Greenwich
                                                                     Greenwich Bank
                                                                               Bank and
                                                                                    and

Trust Company (“Greenwich
Trust Company ("Greenwich Bank”)
                          Bank") and Richard Muskus,
                                 and Richard Muskus, the
                                                     the President
                                                         President of
                                                                   of Greenwich
                                                                      Greenwich

Bank. On
Bank. Onor
         orabout
            about May
                  May 21,
                      21, 2013,
                          2013, Greenwich
                                Greenwich Bank
                                          Bank and
                                               and Mr.
                                                   Mr. Muskus
                                                       Muskus served
                                                              served objections
                                                                     objections to
                                                                                to

those subpoenas.
those subpoenas.

         On May
         On May 15,
                15, 2013,
                    2013, the
                          the Court
                              Court stayed
                                    stayed this
                                           this action
                                                action pending
                                                       pending resolution
                                                               resolution of
                                                                          of aa motion
                                                                                motion to
                                                                                       to

disqualify Plaintiff’s
disqualify Plaintiff's counsel.  [D.E. 11].
                       counsel. [D.E.  11]. The
                                             Thestay
                                                 staywas
                                                     waslifted
                                                         lifted on
                                                                on April
                                                                   April 23,
                                                                         23, 2014,
                                                                             2014, when
                                                                                   when the
                                                                                        the

Court denied
Court denied that
             that motion. [D.E. 16].
                  motion. [D.E. 16]. With
                                     Withthe
                                          thestay
                                              staylifted,
                                                   lifted,Citibank
                                                          Citibank sought
                                                                    sought to
                                                                            to continue
                                                                               continue

discovery. On
discovery. On June
              June 16,
                   16, 2014,
                       2014, the
                             the parties
                                 parties filed
                                         filed their
                                               their Rule
                                                     Rule 26(f)
                                                          26(f) report. [D.E. 17].
                                                                report. [D.E. 17].

         Notwithstanding the
         Notwithstanding  thestay
                              stay being
                                   being lifted,
                                          lifted, Plaintiff
                                                  Plaintiffstill
                                                            still failed
                                                                  failed to  respond to
                                                                          to respond    the
                                                                                     to the

outstanding discovery
outstanding  discoveryrequests.
                       requests. As required by
                                 As required by Local
                                                Local Civil
                                                      Civil Rule
                                                            Rule 37(a),
                                                                  37(a), Citibank
                                                                          Citibank

attempted to
attempted    meet and
          to meet and confer
                      confer with
                             with Plaintiff
                                  Plaintiff regarding
                                            regarding Plaintiff’s
                                                      Plaintiff's failure
                                                                  failure to respond to
                                                                          to respond to




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Citibank’s document
Citibank's document requests
                    requests and
                             and interrogatories. On August
                                 interrogatories. On August 1,
                                                            1, 2014,
                                                               2014, Citibank
                                                                     Citibank wrote
                                                                              wrote to
                                                                                    to

Plaintiff requesting
Plaintiff requesting compliance
                     compliance with
                                with the outstanding discovery
                                     the outstanding discovery requests.  (Weissman
                                                               requests. (Weissman

Decl., Ex.
Decl.,     4). On
       Ex. 4).  OnAugust
                   August7,7,2014,
                              2014,Plaintiff's
                                    Plaintiff’scounsel
                                                counsel responded
                                                         responded to
                                                                    to Citibank's
                                                                       Citibank’s letter,
                                                                                   letter,

indicating that
indicating  that his office had
                 his office had "no
                                 “no record"
                                      record” ofofthe
                                                    theoutstanding
                                                         outstandingdiscovery
                                                                     discovery requests.
                                                                                requests.

(Weissman Decl.,
(Weissman Decl., Ex.
                 Ex. 5). On August
                     5). On August 11,
                                   11, 2014,
                                       2014, Plaintiffs
                                             Plaintiff’s counsel
                                                          counsel changed
                                                                  changed tactics
                                                                          tactics and
                                                                                  and

wrote another
wrote another e-mail,
              e-mail, stating
                      stating that
                              that Citibank’s discovery requests
                                   Citibank's discovery requests were
                                                                 were "untimely"
                                                                      “untimely” because
                                                                                 because

they were
they were served
          served before
                 before entry
                        entry of
                              of aa Rule
                                    Rule 26(f)
                                         26(f) report. (Weissman Decl.,
                                               report. (Weissman Decl., Ex.
                                                                        Ex. 6).
                                                                            6).

         Citibank disagreed
         Citibank disagreed with Plaintiff’s contention,
                            with Plaintiff's contention, explaining
                                                         explaining that its discovery
                                                                    that its  discovery

requests were
requests were served
              served after
                     after the parties met
                           the parties met and
                                           and conferred
                                                conferred pursuant
                                                          pursuant to
                                                                   to Rule
                                                                      Rule 26(f).
                                                                            26(f).

Nonetheless, in
Nonetheless, in an effort to
                an effort to resolve
                             resolve the
                                     the dispute
                                         dispute without
                                                 without burdening
                                                         burdening the
                                                                   the Court,
                                                                       Court, on
                                                                              on August
                                                                                 August

25, 2014,
25, 2014, Citibank
          Citibank re-served
                   re-served its
                              its discovery
                                  discoveryrequests
                                            requestsupon
                                                     uponPlaintiff.
                                                          Plaintiff. A
                                                                     A copy
                                                                       copy of
                                                                            of Citibank’s
                                                                               Citibank's

cover letter,
cover letter, and
              and its
                  its re-served
                      re-served discovery
                                discovery requests,
                                          requests, is
                                                    is attached
                                                       attached as
                                                                as Weissman
                                                                   Weissman Decl.,
                                                                            Decl., Ex.
                                                                                   Ex. 7.
                                                                                       7.

         Remarkably, Plaintiff
         Remarkably, Plaintiffalso
                               also failed
                                     failed to serve answers
                                            to serve answers or
                                                             or produce
                                                                produce documents
                                                                        documents in
                                                                                  in

response to
response    Citibank’s newly
         to Citibank's newly served
                             served discovery
                                    discovery requests.  On September
                                               requests. On  September 26,
                                                                       26, 2014,
                                                                           2014,

Plaintiff’s counsel
Plaintiffs  counsel instead
                    instead wrote
                            wrote to Citibank’s counsel
                                  to Citibank's counsel to seek an
                                                        to seek  an adjournment
                                                                     adjournment of
                                                                                 of

Plaintiff’s deposition.
Plaintiffs  deposition. Citibank's
                         Citibank’scounsel
                                    counsel responded
                                             responded by
                                                       by asking
                                                           asking when
                                                                  when Plaintiff
                                                                       Plaintiff would
                                                                                 would

provide responses
provide responses to
                   to the
                      the August
                          August 2014
                                 2014 discovery
                                      discoveryrequests.  (A copy
                                                requests. (A copy of
                                                                  of an
                                                                     an e-mail
                                                                        e-mail chain
                                                                               chain

reflecting counsel’s
reflecting           discussions from
           counsel's discussions from September
                                      September 26,
                                                26, 2014
                                                    2014 through
                                                         through October
                                                                 October 1,
                                                                         1, 2014 is
                                                                            2014 is

attached as
attached as Weissman
            Weissman Decl.,
                     Decl.,Ex.
                            Ex.8.) On October
                               8.) On October 2,
                                              2, 2014,
                                                 2014, counsel
                                                       counsel to the parties
                                                               to the parties had
                                                                              had aa

meet and
meet and confer
         confer by
                by telephone
                   telephone in which Plaintiff
                             in which Plaintiff again
                                                again refused
                                                      refused to
                                                              to respond
                                                                 respond to Citibank’s
                                                                         to Citibank's

document requests
document requests and interrogatories and
                  and interrogatories and indicated
                                          indicated Plaintiff
                                                    Plaintiff would
                                                              would seek
                                                                    seek aa discovery
                                                                            discovery

stay. (Weissman
stay.  (Weissman Decl.
                 Decl. ¶¶ 11).
                          11).




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         Meanwhile, subsequent
         Meanwhile, subsequent to
                                to the
                                   the lifting
                                       lifting of the stay,
                                               of the stay, Greenwich
                                                            Greenwich Bank
                                                                      Bank has
                                                                           has produced
                                                                               produced

documents in
documents in response
             response to
                      to the
                         the subpoena
                             subpoena issued
                                      issued to
                                             to itit and Citibank has
                                                     and Citibank has provided
                                                                      provided aa copy
                                                                                  copy of
                                                                                       of

those documents
those documents to
                 to Plaintiff. On September
                    Plaintiff. On September 22,
                                            22, 2014,
                                                2014, aa copy
                                                         copy of
                                                              of Greenwich
                                                                 Greenwich Bank's
                                                                           Bank’s

initial document
initial document production
                 productionwas
                            wasprovided
                               providedtotoPlaintiff.
                                            Plaintiff. On October 22,
                                                       On October 22, 2014,
                                                                      2014, aa copy
                                                                               copy of
                                                                                    of

Greenwich Bank’s
Greenwich Bank's second
                 second document
                        document production
                                 productionwas
                                            was provided
                                                providedtoto Plaintiff. Citibank
                                                             Plaintiff. Citibank

anticipates Greenwich
anticipates Greenwich Bank
                      Bank will complete its
                           will complete     document production
                                         its document production shortly
                                                                 shortly and will
                                                                         and will

provide aa copy
provide    copy of
                of any
                   any additional
                        additional produced
                                   produced documents
                                            documentstoto Plaintiff,
                                                          Plaintiff,upon
                                                                     uponreceipt.  A
                                                                          receipt. A

deposition of
deposition    Richard Muskus,
           of Richard Muskus, the former Greenwich
                              the former Greenwich Bank president, is
                                                   Bank president,    scheduled to
                                                                   is scheduled to

proceed the
proceed the first
            first week
                  week of
                       of November.
                          November.

         On October
         On October 8, 2014, Plaintiff
                    8, 2014, Plaintiff sent
                                       sent aa two-page
                                               two-page letter
                                                         letter to
                                                                 to the
                                                                    the Court,
                                                                        Court, filed
                                                                               filed as
                                                                                     as aa

“motion”, requesting
"motion", requesting that
                     that discovery
                          discovery be
                                    be stayed
                                       stayed pending
                                              pending resolution
                                                      resolution of
                                                                 of Plaintiff’s motion to
                                                                    Plaintiff's motion to

amend his
amend his complaint. [D.E. 24].
          complaint. [D.E. 24].

                                       ARGUMENT
                                       ARGUMENT

I.  PlaintiffShould
I. Plaintiff  ShouldBe
                     BeCompelled
                        Compelled To
                                   ToRespond
                                      Respond To
                                               ToCitibank's
                                                  Citibank’s Discovery
                                                             Discovery Requests,
                                                                       Requests,
    Appear   For A Deposition And Ordered To Pay Citibank’s Reasonable Expenses
    Appear For A Deposition And Ordered To Pay Citibank's Reasonable Expenses

         Plaintiff has
         Plaintiff     defaulted in
                   has defaulted    his obligation
                                 in his obligation to
                                                   to respond
                                                      respond to
                                                              to Citibank's
                                                                 Citibank’s interrogatories
                                                                             interrogatories

and requests
and requests for
             for the
                 the production
                     production of
                                of documents. Fed. R.
                                   documents. Fed. R. Civ.
                                                      Civ. P.
                                                           P. 33(b)(2)
                                                              33(b)(2) provides
                                                                       provides that
                                                                                that aa

“party must
"party must serve
            serve its
                  its answers
                      answers and
                              and objections
                                  objections within
                                             within 30
                                                    30 days
                                                       days after
                                                            after being
                                                                  being served
                                                                        served with
                                                                               with the
                                                                                    the

interrogatories.” Similarly,
interrogatories." Similarly, Fed.
                             Fed. R. Civ. P.
                                  R. Civ. P. 34(b)(2)(a)
                                             34(b)(2)(a) provides
                                                         provides aa 30 day period
                                                                     30 day period to
                                                                                   to

respond to
respond to document
           document requests.
                    requests.

         Here, Citibank
         Here, Citibank initially
                        initially served
                                  served its
                                         its interrogatories
                                              interrogatories and
                                                              and document
                                                                  document requests
                                                                           requests upon
                                                                                    upon

Plaintiff on
Plaintiff on May
             May 3, 2013. Twelve
                 3, 2013.  Twelve days
                                   days later,
                                         later, on
                                                on May
                                                   May 15,
                                                        15, 2013,
                                                             2013, the
                                                                    the Court
                                                                         Court stayed
                                                                                stayed

proceedings in
proceedings in this
               this action. The stay
                    action. The stay remained
                                     remained in
                                              in effect
                                                 effect until
                                                        until April
                                                              April 23,
                                                                    23, 2014. At this
                                                                        2014. At this time,
                                                                                      time,

Plaintiff had
Plaintiff had eighteen
              eighteen days
                       days remaining
                            remaining in
                                       in his
                                          his thirty
                                              thirty day
                                                     day period
                                                         period to respond to
                                                                to respond    Citibank’s
                                                                           to Citibank's



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                                              4
                                              4
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interrogatories and
interrogatories and document
                    document requests.
                             requests. That
                                        Thatperiod
                                             periodexpired
                                                    expiredon
                                                            onMay
                                                              May11,
                                                                  11,2014
                                                                      2014—
                                                                          – more
                                                                            more than
                                                                                 than

five
five months
     months ago. Plaintiff has
            ago. Plaintiff has not
                               not still
                                   still not
                                         not responded
                                              responded to
                                                        to the
                                                           the interrogatories
                                                               interrogatories and
                                                                               and document
                                                                                   document

requests.
requests.

         Plaintiff is
         Plaintiff is in
                      in default
                         default even
                                 even if
                                      if the
                                         the thirty
                                             thirty days
                                                    days is calculated from
                                                         is calculated from the
                                                                            the August
                                                                                August 25,
                                                                                       25, 2014
                                                                                           2014

re-service of
re-service of the
              the interrogatories
                  interrogatories and
                                  and document
                                      document requests. Under that
                                               requests. Under that calculation,
                                                                    calculation, Plaintiff
                                                                                 Plaintiff

was required
was required to
             to respond
                respond by
                        by September
                           September 24,
                                     24, 2014. Plaintiff failed
                                         2014. Plaintiff failed to
                                                                to do
                                                                   do so.
                                                                      so.

         Pursuant to
         Pursuant    Local Civil
                  to Local       Rule 37(a),
                           Civil Rule 37(a), Citibank
                                             Citibank was
                                                      was obligated
                                                          obligated to
                                                                    to make
                                                                       make aa good
                                                                               good faith
                                                                                    faith

attempt to
attempt    resolve the
        to resolve the discovery
                       discovery dispute
                                 dispute before
                                         before bringing
                                                bringing this
                                                          this motion. Citibank has
                                                               motion. Citibank has done
                                                                                    done

so. Attempting
so.  Attempting to
                 to resolve
                     resolve Plaintiffs
                             Plaintiff’sinitial
                                         initialobjection,
                                                 objection,Citibank
                                                           Citibank re-served
                                                                     re-served the
                                                                               the discovery
                                                                                   discovery

requests in
requests    August 2014,
         in August 2014, giving
                         giving Plaintiff
                                Plaintiff another
                                          another opportunity
                                                  opportunity to
                                                              to respond
                                                                 respond to
                                                                         to the discovery
                                                                            the discovery

requests after
requests after his
               his lengthy default.
                   lengthy default.

         Plaintiff again
         Plaintiff again failed
                         failed to respond to
                                to respond to discovery,
                                              discovery, leading
                                                         leading Citibank
                                                                 Citibank to
                                                                          to seek
                                                                             seek another
                                                                                  another

meet and
meet and confer.
         confer. Before
                  Before bringing
                          bringing this
                                    this motion,
                                         motion, Citibank's
                                                 Citibank’s counsel
                                                             counsel made
                                                                     made inquiries
                                                                           inquiries to
                                                                                     to

Plaintiff’s counsel
Plaintiffs  counsel as
                    as to
                        to when
                           when they
                                 they would
                                      would respond
                                             respond to
                                                     to the
                                                         the requests
                                                              requests and
                                                                       and when
                                                                           when Plaintiff
                                                                                Plaintiff

would appear
would appear for
             for his noticed deposition.
                 his noticed deposition. Plaintiff
                                         Plaintiff indicated
                                                    indicated it
                                                              it would
                                                                 would not
                                                                       not provide
                                                                           provide the
                                                                                   the

requested discovery
requested discovery but would move
                    but would move for
                                   for aa stay.
                                          stay.

         Accordingly, Citibank
         Accordingly, Citibank requests
                               requests that
                                         that the
                                              the Court
                                                  Court compel
                                                        compel Plaintiff
                                                               Plaintiff to
                                                                         to respond
                                                                            respond to its
                                                                                    to its

interrogatories and
interrogatories and document
                    document requests
                             requests and
                                      and to appear for
                                          to appear for the
                                                        the noticed
                                                            noticed deposition.
                                                                    deposition. See,
                                                                                See, e.g.,
                                                                                     e.g.,

Longobardi v.
Longobardi    U.S., No.
           v. U.S., No. 3:12-CV-636
                        3:12-CV-636 (CSH),
                                    (CSH), 2013
                                           2013 WL
                                                WL 6331178
                                                   6331178 (D.
                                                           (D. Conn. Dec. 5,
                                                               Conn. Dec. 5,

2013) (Haight,
2013) (Haight, J.) (granting defendant’s
               J.) (granting defendant's motion
                                         motion to  compel plaintiff
                                                 to compel plaintiff to respond to
                                                                     to respond to

interrogatories and
interrogatories and document requests where
                    document requests where plaintiff
                                            plaintiff failed
                                                      failed to
                                                             to do
                                                                do so
                                                                   so prior to motion).
                                                                      prior to motion).

         Further, pursuant
         Further, pursuant to
                            to Fed.
                               Fed. R. Civ. P.
                                    R. Civ. P. 37(b)(2)(c)
                                                37(b)(2)(c) and
                                                            and Local
                                                                Local Civil
                                                                      Civil Rule
                                                                            Rule 37(c),
                                                                                 37(c),

Citibank respectfully
Citibank respectfully requests
                       requests that
                                 that Plaintiff
                                      Plaintiff be ordered to
                                                be ordered to pay
                                                              pay Citibank's
                                                                  Citibank’s reasonable
                                                                              reasonable




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expenses incurred
expenses incurred in  bringing this
                   in bringing      motion, including
                               this motion, including its attorneys’ fees.
                                                      its attorneys'  fees.          See, e.g.
                                                                                     See, e.g.

Longobardi, 2013
Longobardi, 2013 WL
                 WL 6331178,
                    6331178, at *3 ("the
                             at *3 (“the movant
                                         movant is
                                                 is entitled
                                                     entitled to
                                                               to reasonable
                                                                   reasonable expenses
                                                                              expenses

incurred in
incurred in making
            making the
                   the motion”).
                       motion").

II. Plaintiff’sMotion
II. Plaintiff's Motion For
                       For A
                           A Stay
                             Stay of
                                  of Discovery
                                     Discovery Should
                                               Should Be
                                                      Be Denied
                                                         Denied

         Plaintiff’s motion
         Plaintiffs  motion seeking
                            seeking aa stay
                                       stay of
                                            of discovery
                                               discovery in
                                                         in this
                                                            this action
                                                                 action should
                                                                        should be
                                                                               be denied. On
                                                                                  denied. On

October 8,
October    2014, Plaintiff
        8, 2014, Plaintiff submitted
                           submitted aa two-page
                                        two-page letter
                                                 letter to the Court,
                                                        to the Court, requesting
                                                                      requesting that
                                                                                 that all
                                                                                      all

discovery in
discovery in this
             this matter
                  matter be stayed until
                         be stayed until the Court rules
                                         the Court rules on
                                                         on Plaintiff's
                                                            Plaintiff’s motion
                                                                        motion to
                                                                               to amend.
                                                                                  amend.

[D.E. 24].
[D.E.      Plaintiff asserts
      24]. Plaintiff  asserts that
                               that discovery
                                    discovery should
                                              should be
                                                     be stayed
                                                        stayed because
                                                               because Citibank
                                                                       Citibank opposed
                                                                                opposed his
                                                                                        his

motion to
motion    amend the
       to amend the Complaint
                    Complaint on
                              on the
                                 the grounds
                                     grounds that
                                             that granting
                                                  granting such
                                                           such motion,
                                                                motion, and
                                                                        and adding
                                                                            adding

Greenwich Bank
Greenwich Bank as
                as aa Defendant,
                      Defendant, would
                                 would deprive
                                       deprivethis
                                               thisCourt
                                                   Courtof
                                                         of jurisdiction.  For this
                                                             jurisdiction. For this

reason, Citibank
reason, Citibank argued
                 argued that
                        that Plaintiff’s motion to
                             Plaintiffs motion  to amend
                                                   amend should
                                                         should be
                                                                be denied.
                                                                   denied. See
                                                                           See D.E.
                                                                               D.E. 20,
                                                                                    20,

citing Caro
citing      v. Fidelity
       Caro v. Fidelity Brokerage
                        Brokerage Servs.,
                                  Servs., LLC,
                                          LLC, No.
                                               No. 3:12-CV-1066
                                                   3:12-CV-1066 (CSH),
                                                                (CSH), 2013 WL
                                                                       2013 WL

3929708, at
3929708, at *2
            *2 (D.Conn.
               (D.Conn. July
                        July 26,
                             26, 2013)
                                 2013) (J.
                                       (J. Haight). Notably, Plaintiff
                                           Haight). Notably, Plaintiff has
                                                                       has never
                                                                           never taken
                                                                                 taken aa

position as
position    to whether
         as to whether this
                       this Court
                            Court would
                                  would be
                                        be deprived
                                           deprived of
                                                    of jurisdiction
                                                       jurisdiction and has failed
                                                                    and has failed to
                                                                                   to

clarify the
clarify     citizenship of
        the citizenship of Plaintiff
                           Plaintiff for
                                     for purposes
                                         purposes of
                                                  of jurisdiction.
                                                     jurisdiction.

         Discovery should
         Discovery should not
                          not be stayed simply
                              be stayed simply because
                                               because aa motion
                                                          motion to
                                                                 to amend
                                                                    amend is
                                                                          is pending.
                                                                             pending.

Indeed,
Indeed, the
        the Standing
            Standing Order
                     Order on
                           on Scheduling
                              Scheduling in
                                         in Civil
                                            Civil Cases
                                                  Cases 2(c)
                                                        2(c) provides
                                                             provides that
                                                                      that “filing
                                                                           "filing of
                                                                                   of aa

motion to
motion to dismiss
          dismiss will
                  will not
                       not result
                           result in
                                  in aa stay
                                        stay of
                                             of discovery
                                                discovery or
                                                          or extend
                                                             extend the
                                                                    the time
                                                                        time for
                                                                             for completing
                                                                                 completing

discovery.” Plaintiff
discovery." Plaintiff here
                      here isis simply
                                 simply attempting
                                         attempting to
                                                     to avoid
                                                         avoid its
                                                                its discovery
                                                                     discovery obligations
                                                                               obligations and
                                                                                           and

unnecessarily prolong
unnecessarily prolong this case.
                      this case.

         It also bears
         It also bears mention
                       mention that Plaintiff falsely
                               that Plaintiff falsely asserts
                                                      asserts in
                                                               in his
                                                                  his letter
                                                                      letter seeking
                                                                             seeking aa stay
                                                                                        stay of
                                                                                             of

discovery that
discovery  that “there
                "there has been absolutely
                       has been absolutely no
                                           no discovery
                                              discovery and
                                                        and no activity in
                                                            no activity    this case."
                                                                        in this case.”

[D.E. 24
[D.E. 24 at
         at 1]. Citibank previously
            1]. Citibank previously demonstrated
                                    demonstrated that
                                                 that Plaintiff’s identical assertions
                                                      Plaintiffs identical  assertions were
                                                                                       were




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false.  [D.E. 22].
false. [D.E.   22]. Moreover,
                     Moreover,Plaintiff's
                               Plaintiff’s statement
                                            statement misleads
                                                      misleads the
                                                               the Court. Discovery is
                                                                   Court. Discovery is

ongoing with
ongoing      Greenwich Bank,
        with Greenwich Bank, which
                             which has produced documents
                                   has produced documents in
                                                          in response
                                                             response to the non-
                                                                      to the non-

party subpoena
party subpoena served
               served upon
                      upon it and is
                           it and is arranging
                                     arranging the
                                               the deposition
                                                   deposition of
                                                              of its
                                                                  its former
                                                                       former president,
                                                                              president,

Richard Muskus.
Richard          The documents
        Muskus. The   documents produced
                                produced by
                                         by Greenwich
                                            Greenwich Bank,
                                                      Bank, which
                                                            which have
                                                                  have been
                                                                       been

provided to
provided    Plaintiff, appear
         to Plaintiff, appear dispositive
                              dispositive of
                                          of Plaintiff’s claims in
                                             Plaintiff's claims in this
                                                                   this action,
                                                                        action, showing
                                                                                showing that
                                                                                        that

Greenwich Bank
Greenwich Bank had independently chosen
               had independently chosen in
                                         in March
                                            March 2011 not to
                                                  2011 not to provide
                                                               provide long-term
                                                                        long-term

financing
financing to
          to Plaintiff
             Plaintiff even
                       even before
                            before itit received
                                        received the
                                                 the MIS
                                                     MIS letter
                                                         letter in April 2011
                                                                in April 2011 that
                                                                              that forms
                                                                                   forms the
                                                                                         the

basis of
basis of Plaintiff’s claims. (Weissman
         Plaintiff's claims.  (Weissman Decl.,
                                        Decl., Ex.
                                               Ex. 9).
                                                   9).

         Equally
         Equally baseless
                 baseless is Plaintiff’s argument
                          is Plaintiff's  argument that
                                                    that Citibank
                                                          Citibank "commenced
                                                                    “commenced excessive
                                                                                excessive

activity” after
activity" after Plaintiff
                Plaintiff filed
                          filed its motion to
                                its motion    amend in
                                           to amend in order
                                                       order to
                                                             to support
                                                                support its
                                                                        its assertion
                                                                            assertion that
                                                                                      that the
                                                                                           the

motion to
motion to amend
          amend should
                should be
                       be denied
                          denied to
                                 to avoid
                                    avoid the
                                          the necessity to repeat
                                              necessity to repeat discovery
                                                                  discovery if
                                                                            if this case is
                                                                               this case is

remanded to
remanded to state
            state court. [D.E. 24
                  court. [D.E. 24 at
                                  at 2].
                                     2]. InInfact,
                                              fact,Citibank
                                                    Citibankserved
                                                             served its
                                                                     itsdocument
                                                                         document requests,
                                                                                  requests,

interrogatories, deposition
interrogatories, deposition notices
                            notices and
                                    and third-party
                                        third-party subpoenas
                                                    subpoenas upon
                                                              upon Greenwich
                                                                   Greenwich Bank and
                                                                             Bank and

Mr. Muskus
Mr. Muskus in
           in 2013
              2013 —
                   – more
                     morethan
                          thanaayear
                                 yearbefore
                                      beforePlaintiff
                                            Plaintiff sought
                                                      sought to
                                                             to amend
                                                                amend his
                                                                      his Complaint.
                                                                          Complaint.

         In addition, Plaintiff
         In addition, Plaintiff filed
                                 filed his
                                       his motion
                                           motion to
                                                   to amend
                                                      amend just
                                                            just days
                                                                 days after entry of
                                                                      after entry of the
                                                                                     the

Electronic
Electronic Scheduling
           SchedulingOrder
                      Orderon
                            onJune
                               June17,
                                    17,2014.  [D.E. 18].
                                        2014. [D.E. 18]. Citibank,
                                                          Citibank, as
                                                                     asappropriate,
                                                                        appropriate,

diligently renewed
diligently renewed its
                   its efforts to obtain
                       efforts to obtain discovery
                                         discovery shortly
                                                   shortly after
                                                           after entry
                                                                 entry of
                                                                       of aa scheduling
                                                                             scheduling order.
                                                                                        order.

Citibank believes
Citibank believes that
                   that Plaintiff’s
                        Plaintiff's claims
                                    claims in
                                            in this
                                               this action
                                                    action are
                                                           are without
                                                               without merit. Citibank has
                                                                       merit. Citibank has

attempted to
attempted     proceed with
           to proceed with discovery
                           discovery so
                                      so that it can
                                         that it can move
                                                     move for
                                                           for summary
                                                                summary judgment
                                                                         judgment to
                                                                                  to

dismiss Plaintiff’s
dismiss             claims.
        Plaintiff's claims.

         Regardless, even
         Regardless, even if this action
                          if this action is
                                         is remanded
                                            remanded to
                                                     to state
                                                        state court,
                                                              court, the
                                                                      the discovery
                                                                          discovery sought
                                                                                    sought

would be
would    the same
      be the same in
                   in that
                       that action.
                             action. Indeed,
                                       Indeed,Greenwich
                                               GreenwichBank's
                                                         Bank’sdocument
                                                                document production
                                                                          production

contains documents
contains documents that
                   that are
                        are fully
                            fully dispositive
                                  dispositive of
                                              of Plaintiff’s
                                                 Plaintiff's claims
                                                             claims in
                                                                    in this action and
                                                                       this action     any
                                                                                   and any




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                                              7
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state action.
state action. Plaintiff
               Plaintiff has
                          hasalleged
                              alleged that
                                       thatCitibank
                                            Citibank caused
                                                      caused Greenwich
                                                             Greenwich Bank
                                                                       Bank to
                                                                            to close
                                                                                close

Plaintiff’s "line
Plaintiffs   “line of
                    of credit"
                        credit” and
                                 and deny
                                      denyPlaintiff's
                                           Plaintiff’sapplication
                                                       application for
                                                                    for long-term
                                                                         long-term financing
                                                                                   financing by
                                                                                             by

causing its
causing     alleged agent,
        its alleged agent, Mortgage
                           Mortgage Information
                                    Information Services
                                                Services (“MIS”),
                                                          ("MIS"), to
                                                                    to send
                                                                       send aa pay-off
                                                                               pay-off

request to
request to Greenwich
           Greenwich Bank.
                     Bank. (See, e.g., Complaint
                           (See, e.g., Complaint ¶¶ 16). The documents
                                                    16). The  documents produced
                                                                        produced by
                                                                                 by

Greenwich Bank,
Greenwich Bank, however,
                however, plainly
                         plainlyrefute
                                 refutePlaintiff’s
                                       Plaintiffs allegations.  These documents
                                                   allegations. These documents reflect
                                                                                reflect

that Greenwich
that Greenwich Bank
               Bank decided,
                    decided, in
                             in the
                                the third week of
                                    third week of March
                                                  March 2012,
                                                        2012, that it would
                                                              that it would not
                                                                            not provide
                                                                                provide

long term financing
long term financing to Plaintiff due
                    to Plaintiff     to Bank
                                 due to Bank Secrecy
                                             Secrecy Act
                                                     Act ("BSA")
                                                         (“BSA”) concerns,
                                                                 concerns, and
                                                                           and would
                                                                               would

only provide
only provide aa few
                few month
                    month extension
                          extension of Plaintiff’s construction
                                    of Plaintiffs   construction loan
                                                                 loan so
                                                                      so Plaintiff
                                                                         Plaintiff could
                                                                                   could

seek alternative
seek alternative financing
                 financing to
                            to pay
                               pay off
                                   off his
                                       his construction
                                           construction loan.  In other
                                                         loan. In other words,
                                                                        words, this
                                                                               this decision
                                                                                    decision

was made
was made at
         at least
            least in
                  in the
                     the month
                         month before
                               before Greenwich
                                      Greenwich Bank
                                                Bank received
                                                     received the MIS letter
                                                              the MIS letter and
                                                                             and was
                                                                                 was

made because
made because of Greenwich Bank’s
             of Greenwich        independent determination
                          Bank's independent determination that
                                                            that aa loan to Plaintiff
                                                                    loan to Plaintiff

raised BSA
raised     concerns. E-mail
       BSA concerns. E-mail produced
                             produced by
                                      by Greenwich
                                         Greenwich Bank
                                                   Bank reflecting
                                                        reflecting these
                                                                   these facts
                                                                         facts are
                                                                               are

attached as
attached as Weissman
            Weissman Decl.,
                     Decl., Exhibit 9.
                            Exhibit 9.

         It is noteworthy
         It is noteworthy that
                          that Plaintiff
                               Plaintiff has
                                         has engaged
                                             engagedin
                                                     in no
                                                        no activity. Plaintiff filed
                                                           activity. Plaintiff filed this
                                                                                     this

lawsuit
lawsuit in
        in October
           October 2012.  In the
                   2012. In   the two
                                   two years
                                       years since
                                             since filing
                                                   filing the
                                                          the lawsuit,
                                                              lawsuit, Plaintiff
                                                                       Plaintiff has
                                                                                 has not
                                                                                     not served
                                                                                         served

aa single
    single document
           document request,
                    request, interrogatory,
                             interrogatory, deposition
                                             depositionnotice
                                                        noticeororsubpoena.  Nor has
                                                                   subpoena. Nor has

Plaintiff responded
Plaintiff responded to
                     to any
                        any of the discovery
                            of the discovery requests
                                             requests that
                                                      that have
                                                           have been
                                                                been served
                                                                     served upon
                                                                            upon him.
                                                                                 him.

Rather than
Rather      attempting to
       than attempting to prosecute
                          prosecute his
                                    his case,
                                        case, Plaintiff
                                              Plaintiff now
                                                        now baselessly
                                                            baselessly seeks
                                                                       seeks aa stay of
                                                                                stay of

discovery, to
discovery,    prolong this
           to prolong      action even
                      this action even more,
                                       more, perhaps
                                             perhaps with
                                                     with hopes
                                                          hopes of
                                                                of extracting
                                                                    extracting some
                                                                               some

settlement. Plaintiff's
settlement. Plaintiff’s lack
                         lack of
                               ofinterest
                                  interest in
                                            in prosecuting
                                                prosecuting his
                                                            his own
                                                                own action
                                                                    action should
                                                                           should not
                                                                                  not prevent
                                                                                      prevent

Citibank from
Citibank from taking
              taking discovery
                     discovery to enable it
                               to enable it to
                                            to move
                                               move for
                                                     for summary
                                                          summary judgment
                                                                   judgment dismissing
                                                                            dismissing

this meritless
this meritless lawsuit.
               lawsuit.

         Accordingly, Plaintiff’s
         Accordingly,             request for
                      Plaintiff's request for aa stay
                                                 stay of
                                                      of discovery
                                                         discovery should
                                                                   should be
                                                                          be denied.
                                                                             denied.




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                                     CONCLUSION
                                     CONCLUSION

         WHEREFORE, Citibank
         WHEREFORE, Citibank respectfully
                             respectfully requests
                                           requests entry
                                                     entry of
                                                           of an Order (i)
                                                              an Order (i) compelling
                                                                           compelling

Plaintiff to
Plaintiff to respond
             respond to
                     to Citibank’s interrogatories and
                        Citibank's interrogatories and document
                                                       document requests
                                                                requests and
                                                                         and to
                                                                             to appear
                                                                                appear for
                                                                                       for

aa deposition;
   deposition; (ii)
               (ii) requiring
                     requiring Plaintiff
                               Plaintiff to
                                         to pay
                                            pay Citibank's
                                                Citibank’s reasonable
                                                            reasonable expenses,
                                                                        expenses, including
                                                                                   including

attorneys’ fees,
attorneys' fees, incurred
                 incurred in bringing this
                          in bringing this motion;
                                           motion; (iii)
                                                   (iii) denying
                                                         denying Plaintiff’s motion to
                                                                 Plaintiffs motion  to stay
                                                                                       stay

discovery; and
discovery; and (iv)
               (iv) such other and
                    such other and further
                                   further relief
                                           relief as
                                                  as the
                                                     the Court
                                                         Court deems
                                                               deems proper.
                                                                     proper.


                                             DEFENDANT,

                                             CITIBANK, N.A.
                                             CITIBANK, N.A.


                                             By: /s/
                                             By:  /s/ Noah
                                                      Noah M.
                                                           M. Weissman
                                                              Weissman
                                                 Noah M.
                                                 Noah   M. Weissman,
                                                           Weissman, Esq.
                                                                      Esq.
                                                 Bryan Cave
                                                 Bryan   Cave LLP
                                                              LLP
                                                 1290 Avenue
                                                 1290  Avenue of
                                                               of the
                                                                  the Americas
                                                                      Americas
                                                 New York,
                                                 New   York, New
                                                             New York
                                                                   York 10104
                                                                        10104
                                                 (212) 541-2000
                                                 (212)  541-2000—– Phone
                                                                    Phone
                                                 (212) 541-4630
                                                 (212)  541-4630—– Fax
                                                                    Fax
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                              CERTIFICATION OF
                              CERTIFICATION OF SERVICE
                                               SERVICE


         II hereby
            hereby certify
                   certify that
                           that on
                                on the
                                   the date
                                       date hereof,
                                            hereof, aa copy
                                                       copy of
                                                            of the
                                                               the foregoing
                                                                   foregoing was
                                                                             was filed
                                                                                 filed

electronically. Notice
electronically. Notice of
                       of this
                           this filing
                                 filing will
                                        will be
                                             be sent
                                                sent by
                                                     by e-mail
                                                        e-mail to
                                                               to all
                                                                  all parties
                                                                      parties by
                                                                              by operation
                                                                                 operation of
                                                                                           of the
                                                                                              the

Court’s electronic
Court's electronic filing
                   filing system. Parties may
                          system. Parties may access
                                              access this
                                                     this filing
                                                          filing through
                                                                 through the
                                                                         the Court’s
                                                                             Court's

electronic system.
electronic system.



                                                        /s/
                                                        /s/ Noah
                                                            Noah M.
                                                                 M. Weissman
                                                                    Weissman
                                                        Noah M.
                                                        Noah  M. Weissman
                                                                 Weissman




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